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                                                                              2021 Jan-13 PM 12:10
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

DAVID C. SPENCER                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Case No.: 2:20-CV-2019-SGC
                                         )
FRANKLIN AMERICAN HOME                   )
MORTGAGE, et al.,                        )
                                         )
      Defendants.

                                    ORDER

      On December 23, 2020, a motion to dismiss was filed (Doc. 4). Pursuant to

the General Order for Referral of Civil Matters to the United States Magistrate

Judges of the Northern District of Alabama, dated January 2, 2015, the parties are

REQUIRED to enter an election regarding the exercise of dispositive jurisdiction

by a magistrate judge pursuant to 28 U.S.C. § 636(c) no later than February 6,

2021. In the absence of consent by all parties, the Clerk is DIRECTED to

reassign the case to a randomly drawn district judge without further order after

February 6, 2021.

      A telephone status conference is SET for 11:00 a.m. on January 25, 2021.

The parties are DIRECTED to call 877-336-1831 to access the telephone

conference. The access code is 2778178. The parties should call in five minutes

prior to the start time of the conference. The telephone conference will be
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cancelled by separate order if forms from all parties are submitted twenty-

four hours in advance.

      The parties are directed to use the magistrate judge consent form on the

CM/ECF system to elect or decline the exercise of magistrate judge jurisdiction.

Unlike in the past, a party can now complete the consent form electronically and

submit it through the Court’s CM/ECF filing system at the following web address:

https://ecf.alnd.uscourts.gov. If a party submits the form electronically, the form

will be delivered directly to the Clerk. It will not be filed on the docket sheet, and

no judge will have access to the form. Alternatively, a party may print the form,

complete it manually, and submit it to the Clerk’s office.

      You    may     decline   magistrate       judge   jurisdiction   without   adverse

consequences. The identity of any party who consents to or declines magistrate

judge jurisdiction will remain unknown to the undersigned unless consent is

unanimous. The undersigned will only learn of a party’s election to consent where

all parties have consented. In the event fewer than all of the parties elect to

consent, the Clerk will not inform the undersigned of the identity of the non-

consenting party/parties. If all parties consent, a magistrate judge will exercise full

and final dispositive jurisdiction, and all appeals will lie directly with the

appropriate United States Court of Appeals.




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DONE this 13th day of January, 2021.



                                    ______________________________
                                     STACI G. CORNELIUS
                                     U.S. MAGISTRATE JUDGE




                                3
